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 2
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 3   CR-S-09-380 WBS
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     EMILIANO VERA-GIL
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                      )       No. CR-S-09-380 WBS
                                                    )
10
                                                    )
            Plaintiff,                              )       STIPULATION AND (PROPOSED) ORDER
11
                                                    )       CONTINUING STATUS CONFERNCE
     v.                                             )
12
                                                    )       Date: March 22, 2010
     URIEL OCHOA-ESPINDOLA et al.,                  )       Time: 8:30 a.m.
13
                                                    )       Judge: Hon. William B. Shubb
                                                    )
14          Defendants.                             )
                                                    )
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                                                    )
                                                    )
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                    IT IS HEREBY stipulated between the United States of America through its
19
     undersigned counsel, Michael M. Beckwith, Assistant United States Attorney, together with
20
     counsel for defendant Uriel Ochoa-Espindola, Preciliano Martinez, Esq., counsel for defendant
21
     Jose Sergio Espindola, Mark J. Rosenblum, Esq., counsel for defendant Valentin Ramirez-
22
     Cardinez, Robert L. Forkner, Esq., counsel for defendant Rafael Arreola-Sahagun, Fred N.
23
     Dawson, Esq., counsel for defendant Emiliano Vera-Gil, John R. Manning, Esq., counsel for
24
     defendant Hector Carretero-Flores, Dwight M. Samuel, Esq., counsel for defendant Brenda
25

26
     Meza-Rodrigues, Olaf W. Hedberg, Esq., and counsel for defendant Luis Miguel-Rodrigues, Dan

27
     F. Koukol, Esq., that the status conference presently set for March 22, 2010 be continued to

28   April 19, 2010, at 8:30 a.m., thus vacating the presently set status conference. Counsel for the



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 1   parties agree that this is an appropriate exclusion of time within the meaning of Title 18, United
 2   States Code § 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable time for effective preparation,
 3   specifically the defense requests more time to investigate the case and review discovery) and
 4
     Local Code T4, and agree to exclude time from the date of the filing of the order until the date of
 5
     the status conference April 19, 2010.
 6
     IT IS SO STIPULATED
 7
     Dated: March 18, 2010                                /s/ John R. Manning for
 8                                                        PRECILIANO MARTINEZ
                                                          Attorney for Defendant
 9                                                        Uriel Ochoa-Espindola
10   Dated: March 18, 2010                                /s/ John R. Manning for
11
                                                          MARK ROSENBLUM
                                                          Attorney for Defendant
12                                                        Jose Sergio Espindola
13   Dated: March 18, 2010                                /s/ John R. Manning for
                                                          ROBERT FORKNER
14
                                                          Attorney for Defendant
15                                                        Valentin Ramirez-Cardinez
     Dated: March 18, 2010                                /s/ John R. Manning for
16
                                                          FRED N. DAWSON
17                                                        Attorney for Defendant
                                                          Rafael Arreola-Sahagun
18
     Dated: March 18, 2010                                /s/ John R. Manning
19
                                                          JOHN R. MANNING
20                                                        Attorney for Defendant
                                                          Emiliano Vera-Gil
21
     Dated: March 18, 2010                                /s/ John R. Manning for
22                                                        DWIGHT SAMUEL
                                                          Attorney for Defendant
23
                                                          Hector Carretero-Flores
24   Dated: March 18, 2010                                /s/ John R. Manning for
25                                                        OLAF HEDBERG
                                                          Attorney for Defendant
26                                                        Brenda Meza-Rodrigues
27
     Dated: March 18, 2010                                /s/ John R. Manning for
28                                                        DAN KOUKOL
                                                          Attorney for Defendant

                                                      2
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                                               Luis Miguel Orrutia-Rodrigues
 1

 2   Dated: March 18, 2010                     Benjamin B. Wagner
                                               United States Attorney
 3

 4
                                               by: /s/ John R. Manning for
 5                                             MICHAEL M. BECKWITH
                                               Assistant United States Attorney
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10
     UNITED STATES OF AMERICA,                      ) No. CR-S-09-380 WBS
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                                                    )
            Plaintiff,                              ) ORDER TO
12
                                                    ) CONTINUE STATUS CONFERNCE
     v.                                             )
13
                                                    )
     URIEL OCHOA-ESPINDOLA et al.,                  )
14
                                                    )
                                                    )
15          Defendants.                             )
                                                    )
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                                                    )
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            GOOD CAUSE APPEARING, it is hereby ordered that the March 22, 2010 status
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     conference be continued to April 19, 2010 at 8:30 a.m. I find that the ends of justice warrant an
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     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for
22
     effective preparation exceeds the public interest in a trial within 70 days. THEREFOR IT IS
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     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and
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     Local Code T4 from the date of this order to April 19, 2010.
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     IT IS SO ORDERED.
26   Dated: March 19, 2010

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